         Case 6:23-cv-00871-CEM-DCI Document 193 Filed 09/19/24 Page 1 of 7 PageID 3778
AO 133 (Rev. 07/24) Bill of Costs


                                                 UNITED STATES DISTRICT COURT
                                                                                             for the
                                                                                          District of
                                                                                                  )
                                                                                                  )
                                           v.                                                     )        Case No.:
                                                                                                  )
                                                                                                  )


                                                                                  BILL OF COSTS
Judgment having been entered in the above entitled action on                                                                     against                                                  ,
                                                                                                            Date
the Clerk is requested to tax the following as costs:

Fees of the Clerk . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            $

Fees for service of summons and subpoena . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for printed or electronically recorded transcripts necessarily obtained for use in the case . . . . . .
Fees and disbursements for printing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for witnesses (itemize on page two) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

Docket fees under 28 U.S.C. § 1923 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Costs as shown on Mandate of Court of Appeals . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of court-appointed experts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. § 1828 . . . .
Other costs (please itemize) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                                TOTAL            $

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.


                                                                                         Declaration
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:
          ’         Electronic service                                     ’       First class mail, postage prepaid
          ’         Other:
              s/ Attorney:
                          Name of Attorney:
For:                                                                                                                                                     Date:
                                                             Name of Claiming Party

                                                                                   Taxation of Costs
Costs are taxed in the amount of                                                                                                                          and included in the judgment.

                                                                                   By:
                           Clerk of Court                                                                        Deputy Clerk                                             Date
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AO 133 (Rev. 07/24) Bill of Costs
                                      UNITED STATES DISTRICT COURT
                                    Witness Fees (computation, cf. 28 U.S.C. § 1821 for statutory fees)
                                                                      ATTENDANCE           SUBSISTENCE              TRAVEL
                                                                                                                                        Total Cost
            NAME , CITY AND STATE OF RESIDENCE                                   Total               Total     Expenses/   Total       Each Witness
                                                                      Days       Cost      Days      Cost        Miles      Cost




                                                                                                                      TOTAL


                                                                       NOTICE

   Section 1924, Title 28, U.S. Code (effective September 1, 1948) provides:
   “Sec. 1924. Verification of bill of costs.”
       “Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an affidavit, made by himself or by
   his duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
   that the services for which fees have been charged were actually and necessarily performed.”

   See also Section 1920 of Title 28, which reads in part as follows:
       “A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree.”

   The Federal Rules of Civil Procedure contain the following provisions:
   RULE 54(d)(1)
   Costs Other than Attorneys’ Fees.
       Unless a federal statute, these rules, or a court order provides otherwise, costs — other than attorney’s fees — should be allowed to the
   prevailing party. But costs against the United States, its officers, and its agencies may be imposed only to the extent allowed by law. The clerk
   may tax costs on 14 days’ notice. On motion served within the next 7 days, the court may review the clerk’s action.

   RULE 6
   (d) Additional Time After Certain Kinds of Service. When a party may or must act within a specified time after being served and service is made
   under Rule 5(b)(2)(C) (mail), (D) (leaving with the clerk), or (F) (other means consented to), 3 days are added after the period would otherwise
   expire under Rule 6(a).
   RULE 58(e)
   Cost or Fee Awards:
        Ordinarily, the entry of judgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fees. But if a
   timely motion for attorney's fees is made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become
   effective to order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.




         Print                       Save As...
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Melissa Hill

From:               do_not_reply@psc.uscourts.gov
Sent:               Wednesday, May 10, 2023 5:35 PM
To:                 Melissa Hill
Subject:            Pay.gov Payment Confirmation: FLORIDA MIDDLE DISTRICT COURT


Your payment has been successfully processed and the details are below. If you have any ques ons or you wish to cancel
this payment, please contact: Megan Jaﬀe at 407‐835‐4353.

 Account Number: 4832046
 Court: FLORIDA MIDDLE DISTRICT COURT
 Amount: $402.00
 Tracking Id: AFLMDC‐20822618
 Approval Code: 161588
 Card Number: ************2102
 Date/Time: 05/10/2023 05:34:59 ET

 A orney Name: Frederick S. Wermuth
 Firm Name: King Blackwell Zehnder & Wermuth
 Name of Person Comple ng Transac on: Melissa Hill

NOTE: This is an automated message. Please do not reply




                                                          1
       Case 6:23-cv-00871-CEM-DCI Document 193 Filed 09/19/24 Page 4 of 7 PageID 3781
                                                                                                       Invoice INV2853728
                                                                                    Date 7/24/2024                        Client Number C285171
           1500 Centre Pkwy
           Suite 100                                                              Terms Net 30                             Esquire Oﬃce Denver
           East Point GA 30344                                                  Due Date 8/23/2024                      Proceeding Type Deposition
           888-486-4044                                                                                                Name of Insured
           www.esquiresolutions.com                                                                                              Adjuster
           Tax ID # XX-XXXXXXX
                                                                                                                      Firm Matter/File #
                                                                                                                            Client VAL ID
                                                                                                                             Date of Loss

          Bill To                                                                                    Services Provided For
          King Blackwell Zehnder & Wermuth PA                                                        King Blackwell Zehnder & Wermuth PA - Orlando
          25 East Pine Street                                                                        Wermuth, Fritz
          3rd Floor                                                                                  25 East Pine Street
          PO Box 1631                                                                                3rd Floor
          Orlando FL 32802                                                                           Orlando FL 32802



 Job Date           Job ID                         Job Location                                                                 Case
 7/24/2024       J11164199                     Orlando, FLORIDA                         CHRISTOPHER E. DORWORTH, V. JOEL MICAH GREENBERG, ET AL.

Description                                                           Deponent                                 Qty          Unit Rate Tax                  Amount
TRANSCRIPT - COPY-WI                                                  Statements of Counsels                          43          3.50                         $150.50
SAME DAY EXPEDITE                                                     Statements of Counsels                                     125%                          $188.13
E-EXHIBITS B&W COPY                                                   Statements of Counsels                            5         0.65                            $3.25
E- EXHIBITS COLOR COPY                                                Statements of Counsels                            9         0.65                            $5.85
PROCESS & COMPLIANCE                                                  Statements of Counsels                            1        30.00                          $30.00
CERTIFICATE OF NON-APPEARANCE                                         Statements of Counsels                            1        95.00                          $95.00
PROCESS & COMPLIANCE                                                  Statements of Counsels                            1        30.00                          $30.00




                                                                                                                                              Subtotal                502.73
                                                                                                                                    Shipping Cost (n/a)                 0.00
                                                                                                                                                 Total               $502.73
                                                                                                                                          Amount Due                  502.73
 Attorney is responsible for payment of all charges incurred. Payment is due by “Due Date” shown on invoice. Failure to pay by “Due Date” may result in the assessment
 of a late fee. Transcript package typically includes transcript/word index, exhibits, appearance fee, condensed transcript, litigation support disk, shipping, video charges
 and may include other service charges based on job or region. Some services and rates may vary by job or region. Please contact your local oﬃce for speciﬁc detail and
 questions. Full Terms and Conditions are viewable online at www.esquiresolutions.com/terms-conditions. These stated terms and conditions, to the extent they
 contradict the rules and regulations in Arizona, do not apply. All aspects of this invoice and other business terms comply with the ethical obligations set forth in the AZ
 Code of Judicial Administration Section 7-206(J)(1)(g)(3) through (6).

                                             Please detach and return this bottom portion with your payment or
                           pay online or obtain W9 at www.esquireconnect.com or to pay just this invoice with CC/ACH: Pay Now

                                                                                                               Client Name King Blackwell Zehnder &
                                                                                                                           Wermuth PA - Orlando
Remit to:                                     Federal Express, UPS or Overnight USPS:
                                                                                                                     Client # C285171
Esquire Deposition Solutions, LLC             Esquire Deposition Solutions, LLC                                    Invoice # INV2853728
P. O. Box 846099                              Lockbox 846099
Dallas, TX 75284-6099                         1950 N. Stemmons Freeway                                         Invoice Date 7/24/2024
                                              Suite 5010
                                              Dallas, TX 75208                                                     Due Date 8/23/2024
                                                                                                               Amount Due $502.73
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StenoSuarez, LLC
PO Box 3574
Orlando, FL 32802
+14078018921
heather@stenosuarez.com
stenosuarez.com




INVOICE
BILL TO                                                                                             INVOICE         2024-137
Dustin M. Mauser-Claasen                                                                            DATE            08/07/2024
King, Blackwell, Zehnder & Wermuth, P.A.
25 East Pine Street
Orlando, FL 32801


 DATE                   SERVICE                                                                            PAGES   RATE           AMOUNT

 08/07/2024             7-day Transcript                                                                      40   5.35             214.00
                        Transcript of Motion Hearing re: [138] Andrew Greenberg, Susan
                        Greenberg, and AWG, Inc.'s Motion to Compel before the Honorable
                        Daniel C. Irick

                        Case                                                                                   0   0.00               0.00
                        Christopher E. Dorworth v. Joel Micah Greenberg et al.
                        USDC (MDFL) Number 6:23-cv-00871-CEM-DCI


Checks may be made payable to StenoSuarez, LLC.
                                                                           BALANCE DUE                                           $214.00
CERTIFICATION: I certify that the transcript fees charged and page
format used comply with the requirements of this court and the Judicial
Conference of the United States.




                                                   Heather Suarez, RDR, CRR, FCRR, FPR-C, WA CCR, CA CSR
                                                                          Thank you!
                                                                          Page 1 of 1
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Payment receipt

You paid $214.00
to StenoSuarez, LLC on 8/7/2024


Invoice no.                                                                                                                                   2024-137
Invoice amount                                                                                                                                  $214.00
Total                                                                                                                                         $214.00

Status                                                                                                                                                Paid
Payment method                                                                                                                            Credit Card
Authorization ID                                                                                                                   MQ0235297581

Thank you

StenoSuarez, LLC
+14078018921
stenosuarez.com | heather@stenosuarez.com
PO Box 3574, Orlando, FL 32802

No additional transfer fees or taxes apply.

Intuit Payments Inc (IPI) processes payments as an agent of the business. Payments processed by IPI constitutes payment to the business and satisfies your
obligation to pay the business, including in connection with any dispute or case, in law or equity. Money movement services are provided by IPI pursuant to
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1-888-536-4801.
              Case 6:23-cv-00871-CEM-DCI Document 193 Filed 09/19/24 Page 7 of 7 PageID 3784
StenoSuarez, LLC
PO Box 3574
Orlando, FL 32802
+14078018921
heather@stenosuarez.com
stenosuarez.com




REFUND RECEIPT
REFUND TO                                                                                               REFUND         2024-142
Dustin M. Mauser-Claasen                                                                                REFUND DATE    08/13/2024
King, Blackwell, Zehnder & Wermuth, P.A.
25 East Pine Street
Orlando, FL 32801


 DATE                                            DESCRIPTION                                        PAGES             RATE          AMOUNT

 08/07/2024             7-day Transcript         Partial Refund re: Invoice 2024-                          6          5.35            32.10
                                                 137 <Transcript of Motion
                                                 Hearing re: [138] Andrew
                                                 Greenberg, Susan Greenberg,
                                                 and AWG, Inc.'s Motion to
                                                 Compel before the Honorable
                                                 Daniel C. Irick>
                        Case                     Christopher E. Dorworth v. Joel                           0          0.00             0.00
                                                 Micah Greenberg et al.
                                                 USDC (MDFL) Number 6:23-cv-
                                                 00871-CEM-DCI


CERTIFICATION: I certify that the transcript fees charged and page          TOTAL                                                     32.10
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Conference of the United States.                                            BALANCE DUE




                                                        Heather Suarez, RDR, CRR, FCRR, FPR-C, WA CCR
                                                                            Thank you!
                                                                            Page 1 of 1
